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5
                       IN THE UNITED STATES DISTRICT COURT
6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8
     UNITED STATES OF AMERICA,     )           CR. No. S 07-571 GEB
9                                  )
                    Plaintiff,     )           STIPULATION AND ORDER
10                                 )
               v.                  )
11                                 )
     ERIC BROOKS,                  )
12                                 )           Date: August 10, 2012
                    Defendant.     )           Time: 9:00 a.m.
13   ______________________________)           Hon. Garland E. Burrell, Jr.
14
15        It is hereby stipulated by and between the United States of
16   America through its attorneys, and defendant Eric Brooks and his
17   attorney, that the status conference hearing set for July 13, 2012,
18   be vacated, and a status conference hearing be set for August 10,
19   2012 at 9:00 a.m.
20        Mr. Brooks is also a defendant in case no. CR S 08-122 GEB.          He
21   has entered a guilty plea in that case and the parties are
22   requesting that sentencing be set for August 10, 2012.          Pursuant to
23   the plea agreement entered in case 08-0122 GEB, the government
24   anticipates dismissing the charges against Mr. Brooks in case 07-571
25   at sentencing.   However, that cannot occur until Mr. Brooks has
26   finished completing his obligations under the plea agreement.          The
27   parties stipulate that the ends of justice are served by the Court
28   excluding the time between July 13, 2012, and August 10, 2012, so


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1    that the defendant may continue to fulfill his obligations under the
2    plea agreement in case 08-0122, which will likely result in the
3    dismissal of the pending charges in this case.            18 U.S.C.
4    §3161(h)(1) (other proceedings concerning the defendant) / Local
5    Code C (other charges pending).
6
     DATED: July 9, 2012                   /s/ Philip Ferrari for
7                                         MICHAEL HANSEN, ESQ.
                                          Attny. for Eric Brooks
8
9    DATED: July 9, 2012                  BENJAMIN WAGNER
                                          United States Attorney
10
11
                                     By: /s/ Philip Ferrari
12                                       PHILIP A. FERRARI
                                         Assistant U.S. Attorney
13
14        IT IS ORDERED that the status conference currently set for July

15   13, 2012, is vacated, and a new status conference is set for August
16   10, 2012, at 9:00 a.m.        For the reasons stipulated to by the
17   parties, good cause exists pursuant to 18 U.S.C. §§ 3161(h), and
18   time is excluded under the Speedy Trial Act through August 10, 2012.
19   For the reasons set forth in the stipulation, the interests of
20   justice served by granting this continuance outweigh the best
21
     interests of the public and the defendants in a speedy trial.
22
          IT IS SO ORDERED.
23
     Dated:     July 10, 2012
24
25
26                                      GARLAND E. BURRELL, JR.
                                        Senior United States District Judge
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